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  8                    IN THE UNITED STATES DISTRICT COURT
  9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 11
      JEFF T. GRANGE, M.D.,                       5:22-cv-00340 DSF (AGRx)
 12
                           Plaintiff, (PROPOSED) ORDER ON
 13                                   DEFENDANT JASON WESSELY’S
               v.                     MOTION FOR SUMMARY
 14                                   JUDGMENT, OR IN THE
                                      ALTERNATIVE, PARTIAL
 15   LORI POZUELOS AND JASON         SUMMARY JUDGMENT
      WESSELY,
 16                                   Date:         April 8, 2024
                         Defendants. Time:          1:30 p.m.
 17                                   Courtroom: 7D
                                      Judge:        The Honorable Dale S.
 18                                                 Fischer
                                      Trial Date: 11/12/2024
 19                                   Action Filed: 2/24/2022
 20
 21        The Motion for Summary Judgment, or in the Alternative, Partial Summary
 22   Judgment (“Motion”) filed by Defendant Jason Wessely (“Wessely”) and opposed
 23   by Plaintiff Jeff T. Grange, M.D. (“Grange”) came on regularly for hearing on April
 24   8, 2024. Wessely appeared through his counsel, Deputy Attorney General Thomas
 25   M. McMahon, and Grange appeared through his counsel, Larson, LLP.
 26        After considering the evidence and argument submitted in support of and in
 27   opposition to the Motion, and after adopting the Statement of Uncontroverted Facts
 28   and Conclusions of Law that is filed herewith, and good cause appearing, the Court

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  1   finds that, pursuant to Fed. R. Civ. P. 56 (c), there are no controverted issues of
  2   material fact and Wessely is entitled to judgment as a matter of law on Grange’s
  3   one claim for relief, pursuant to 42 U.S.C. Section 1983, in the First Amended
  4   Complaint.
  5        Accordingly, the Court hereby GRANTS the Motion, in its entirety.
  6        The Court hereby enters a full and final judgment in favor of Wessely, and
  7   against Grange.
  8        Wessely will be entitled to recover his costs of suit from Grange.
  9        IT IS SO ORDERED, ADJUDGED AND DECREED.
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 12   Dated:
                                                 The Honorable Dale S. Fischer
 13                                              UNITED STATES DISTRICT JUDGE
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